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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION

Civil Action No. 01-CV-12257 PBS

THIS DOCUMENT RELATES TO Judge Patti B. Saris

ALL ACTIONS

CERTIFICATE IN SUPPORT OF APPLICATION FOR ADMISSION PRO HAC VICE

I, Dilpreet K. Rai, hereby certify pursuant to Local Rule 83.5.3(b) that:

1. I am an attorney admitted to practice before the State Courts of New York. I am
also admitted to practice before the following courts: the State of New Jersey, the United States
District Court for the Southern District of New York, the United States District Court for the
Eastern District of New York and the United States District Court for the District of New J ersey;

2. I am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceedings pending against me as a member of the bar
in any jurisdiction;

4. I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and

5. I represent the defendant Novartis Pharmaceuticals Corporation (“Novartis”) in
this action.

Signed under the pains and penalties of perjury of the laws of the State of Massachusetts.

YL

Dilpreet K. Rai, Esq.

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